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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


                                                )
 UNITED STATES OF AMERICA                       )
                                                )
                    v.                          )        Criminal No. 17-201 (ABJ)
                                                )
 PAUL J. MANAFORT, JR.,                         )        UNDER SEAL
                                                )
                          Defendant.            )
                                                )


                     DEFENDANT PAUL J. MANAFORT JR.’S
               MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL

       Pursuant to LCrR 49(f)(6), Defendant Paul J. Manafort, Jr., by and through counsel, hereby

requests leave of the Court to file Mr. Manafort’s Reply to the Office of Special Counsel’s

Declaration in Support of its Breach Determination under seal. Mr. Manafort further seeks

permission to file a redacted version of the response into the public docket with the Court’s

approval.

       The Office of Special Counsel filed its Declaration in Support of its Breach Determination

under seal along with numerous exhibits. Because Mr. Manafort’s reply refers to the Special

Counsel’s sealed filing and the sealed exhibits, Mr. Manafort seeks leave to file his reply under

seal. Mr. Manafort is consulting with the government on proposed redactions to his reply and,

once redaction process is complete, is prepared to file a redacted copy into the public record with

the Court’s permission.
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       WHEREFORE, Mr. Manafort requests that his reply be filed under seal and that the Court

allow him to file a redacted version on the public docket after the Court rules on this motion. A

proposed order accompanies this motion.



Dated: January 23, 2019                             Respectfully submitted,


                                                     /s/
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